EXHIBIT L
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 6

 7           SUPERIOR COURT OF WASHINGTON FOR SNOHOMISH COUNTY
 8
     PACIFIC WATER TECHNOLOGY, LLC,            NO. 24-2-02887-31
 9   SPRUCE WATERS INVESTMENTS, LLC,
     INDIANA WATER TECHNOLOGY, LLC,            PLAINTIFFS’ FIRST REQUESTS FOR
10   A&R WATER SUPPLY, LLC, BLC WATER          PRODUCTION TO DEFENDANT FIRST
     COMPANY, LLC, GRANITE STREET              FED BANK
11   VENTURES, LLC, RUMSON WELLNESS,
     LLC, BROWN FAMILY ENTERPRISES,
12   LLC, KMANDY INVESTMENTS, L.L.C.,
     EVER UPWARD, INC., SUN A WY, LLC,
13   SIRIPI WST, LLC, LIVINGWATER
     STATION, LLC, GRAYFIN VENTURES,
14   LLC, PRASITI WATER INVESTMENTS,
     LLC, JBF CONSULTING SERVICES, LLC,
15   COCO AQUA, LLC, Q & V LLC,
     WATERSTATION TECHNOLOGY OF
16   ROCKVILLE, ARRAVEND, LLC,
     FLATLANDS EQUIPMENT, LLC, C&C
17   INVESTMENT HOLDINGS, LLC, GREAT
     OAK WATER, LIMITED LIABILITY
18   COMPANY, WV WATER TECH, LLC,
     KDAWG CRYPTO, LLC, CULMINATE
19   WATER TECHNOLOGY, LLC, CHUGIT,
     LLC, CHAURISHI RETAIL ENTERPRISES,
20   LLC, PROGRESSIVE PARTNERS, LLC, 210
     SA HOLDING, LLC, WST UTAH LLC,
21   V2S2, LLC, CYBORG HOLDINGS, LLC,
     ASH VENDING, LLC, ADVENTURE DONE
22   RIGHT, LLC, BIG BOY TOOLS LLC,
     ROMAN JAROSIEWICZ, ABBY WYATT
23   GROUP, INC., AIDEN WATERWORKS,
     LLC, HOREB WATER SOLUTIONS, LLC,
24   SILVER OAK H2O, LLC, NS SQ ECO
     WATERS, LLC, JK SEVEN LLC, JEFFREY
25   BROOKE, OED PROPERTIES LLC, JLE

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 1   ENTERPRISES, LLC, BE OF SERVICE, LLC,
     ETANIA, LLC, NIRA ENTERPRISES, LLC,
 2   FACTS PROPERTY SERVICES, LLC,
     IMLSUNSHINE, LLC, REDWATERS, LLC,
 3   STARTER HOLDINGS, LLC, HELMUT
     GIEWAT, MAY AUERBACH, ROYAL
 4   RESERVOIRS, LLC, AQUALUX WATER
     LLC, RCWSTECH1157, LLC,
 5   COLEWSTECH, LLC, MAJI 8377, LLC,
     OAKS WATERSTATION TECH, LLC, SDB
 6   H20, LLC, WST, LLC, HALF FULL
     VENDING, LLC, RDWSTECH3594, LLC,
 7   ROSE TRAIL VENTURES, LLC, AND ROSE
     TRAIL VENTURES 2, LLC, PRAVIN
 8   THAKKAR JR, KWANSOO LEE, DDS, TOM
     ANDERSON, ABBEY ANDERSON, BRIAN
 9   CHU, DDS, LARINA CHU, DAVID
     SCHROEDER, SARAH SCHROEDER,
10   REGINALD FRANKLIN, ANGEL
     FRANKLIN, DYLAN ROSS, TAYLOR
11   ROSS, CODY BISHOP, DAVID BROWN,
     KARTHIKA MANDYAM, DAVID
12   BERANEK, SUSAN PINKERTON,
     RADHIKA SIRIPIREDDY, KARL
13   SCHOENLEBER, JAMES SARTAIN,
     NIRUPA KESKAR, JOHN FLACK, TRUNG
14   NGUYEN, LI LIANG, TAN QUAN
     NGUYEN, ASHOKA SHEANH, MATHEW
15   FELLOWS, CHARLES COGGINS, THOMAS
     WAWERSICH, JASON BLOUGH, MICHELE
16   BLOUGH, KAREN LAVIN, PADMA
     KANDIKONDA, PAVAN KANDIKONDA,
17   JAMES VILT II, BASANT KUMAR,
     RADHIKA KAMALLA, MARC
18   HILDEBRAND, DEBRA HILDEBRAND,
     MERRILL STODDARD, DANIELLE
19   STODDARD, VENKITA SHARMA,
     TIMOTHY DAILEY, ROBERT HOERY,
20   STEFANI HOERY, SEAN DONE, ANNA
     DONE, STERLING DAVIS, MARK
21   FLEMING, STACEY FLEMING, BO YANG,
     STEVEN WELLS, DUSTIN BRAEGER,
22   NAVANEETH KUMAR, WILLIAM WHITE,
     JEANNETTE WHITE, JEFFREY BROOKE,
23   JOSHUA OED, JAMES ESTES, ADRIA
     ESTES, MICHAEL BAILEY, KARTHIGA
24   JAYARAM, KARTHIKEYAN
     RAMPRASATH, ARCHAN TLKOTI,
25   AASHISH PAREKH, JACOB

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 1   LETOURNEAU, KARLA LETOURNEAU,
     KONDA REDDY GADI, SREELAKSHMI
 2   SIRIPURAM, JOSHUA LEYKAM, PAIGE
     LEYKAM, HELMUT GIEWAT, DEREN
 3   FLESHER, DDS, GARY YOUNG, HEIDI
     YOUNG, RONALD COLE, DDS, JAMES
 4   WALKER, DDS, DUANE OKAMOTO,
     LINDA OKAMOTO, SCOTT BURAU, DDS,
 5   BRAD BURAU, DDS, JOSH MCNARY,
     ROBERT DOST, DDS,
 6
                 Plaintiffs,
 7
           v.
 8
     RYAN R. WEAR and REBECCA A. SWAIN,
 9   CREATIVE TECHNOLOGIES, LLC d/b/a
     WATERSTATION TECHNOLOGY, WST
10   FRANCHISE SYSTEMS LLC, WATER
     STATION MANAGEMENT, LLC, KEVIN
11   NOONEY and ELIZABETH NOONEY, and
     the marital community comprised thereof,
12   REFRESHING USA, LLC, SUMMIT
     MANAGEMENT SERVICES, LLC, IDEAL
13   PROPERTY INVESTMENTS, LLC,
     REFRESHING CALIFORNIA L.L.C.,
14   REFRESHING MONTANA, LLC,
     REFRESHING MID-ATLANTIC, LLC,
15   REFRESHING CAROLINES, LLC,
     REFRESHING GREAT LAKES, LLC,
16   WATERSTATION FINANCE COMPANY,
     LLC, REFRESHING GEORGIA, LLC,
17   CREATIVE TECHNOLOGIES FLORIDA,
     LLC, REFRESHING FLORIDA, LLC, 2129
18   ANDREA LANE LLC, 3209 VAN BUREN
     LLC, ICE & WATER VENDORS, LLC,
19   IDEAL INDUSTRIAL PARK, LLC, IDEAL
     AZ PROPERTY INVESTMENTS, LLC, K-2
20   ACQUISITION, LLC, EMERY
     DEVELOPMENT, LLC, ARIZONA WATER
21   VENDORS INCORPORATED, WST AZ
     PROPERTIES LLC, 1118 VIRGINIA
22   AVENUE LLC, 11519 SOUTH PETROPARK
     LLC, TCR PLUMBING, LLC, 3422 W
23   CLARENDON AVE LLC, 1206 HEWITT
     AVE LLC, WATERSTATION
24   TECHNOLOGY II, LLC, PISTOL, INC.,
     SMOKEY POINT HOLDINGS, LLC, 602
25   SOUTH MEAN, LLC, 719 EDEN, LLC, 343

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 1   GROUP LLC, 4300 FOREST LLC, 70 NO
     GARDEN, LLC, 204 NWW LLC,
 2   WATERSTATION TECHVENTURE, LLC,
     WATER STATION HOLDINGS LLC,
 3   WATERSTATION TECHNOLOGY, LLC,
     REFRESHING COLORADO LLC,
 4   ARIZONA VENDORS INC., GOLDEN
     STATE VENDING, LLC, REFRESHING
 5   FLORIDA LLC, REFRESHING MIDWEST,
     LLC, REFRESHING MIDWEST REAL
 6   ESTATE, LLC, REFRESHING NEW
     MEXICO, LLC, REFRESHING NEW
 7   ENGLAND LLC, REFRESHING TEXAS
     LLC, REFRESHING OKLAHOMA LLC,
 8   REFRESHING WASHINGTON, LLC,
     SMART SODA HOLDINGS, INC.,
 9   VENDPRO, LLC d/b/a ELITEVEND,
     HARRISON STREET, LLC, 602 SOUTH
10   MEADOW LLC, 8825 LLC, UNIBANK, U &
     I FINANCIAL CORP., SIMON BAI,
11   STEPHANIE YOON, D. BENJAMIN LEE,
     PETER PARK, FIRST FED BANK, FIRST
12   NORTHWEST BANKCORP, NORMAN
     TONINA, CRAIG CURTIS, JENNIFER
13   ZACCARDO, CINDY FINNIE, DANA
     BEHAR, MATTEW DEINES, SHERILYN
14   ANDERSON, GABRIEL GALANDA, LYNN
     TERWOERDS, LARRY HOUK,
15   NORTHWEST FINANCIAL SERVICES,
     LLC, RICHARD WEAR,
16
                   Defendants.
17

18
            Pursuant to Civil Rules 26, 33 and 34, Plaintiffs hereby propounds their First
19
     Interrogatories and Requests for Production (“Discovery Requests”) to Defendant First Fed
20
     Bank (“Defendant” or “you” or “your”).
21
                                           INSTRUCTIONS
22
             1.     These requests are directed to Defendant and cover all information in your
23
      possession, custody, and control, including information in the possession, custody, and control
24
      of Defendant, including without limitation your current or former officers or directors,
25

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 1
     employees, agents, servants, representatives, Defendant’s attorneys, or other persons directly
 2
     or indirectly employed or retained by Defendant, or anyone else acting on Defendant’s behalf
 3
     or otherwise subject to Defendant’s control, and any merged, consolidated, or acquired
 4
     predecessor or successor, parent, subsidiary, division or affiliate.
 5
            2.     Unless otherwise specifically provided herein, the documents that must be
 6
     produced in response to the following requests for production include all responsive
 7
     documents prepared, sent, dated, received, used, or in effect at any time during the period of
 8
     January 1, 2015 through the present, including the date of any supplemental response (“the
 9
     discoverable period”).
10
            3.     Use of the singular or plural in these requests should not be deemed a limitation
11
     and the use of the singular should be construed to include, where appropriate, the plural. The
12
     conjunctive form “and” and the disjunctive form “or” are mutually interchangeable and
13
     encompass each other. The terms “any” and “all” are mutually interchangeable and encompass
14
     each other.
15
            4.     Plaintiffs request that any documents withheld in whole or in part from
16
     production based on a claim of privilege are assigned unique document control numbers; and
17
     each attachment to a document shall be treated as a separate document and separately logged,
18
     if withheld, and cross referenced, if produced. Please also provide a statement of the claim of
19
     privilege and all facts relied upon in support of the decision to withhold each document, in the
20
     form of a log, which, for each document withheld, states:
21
                   a.      The document’s control numbers;
22
                   b.      All authors of the document;
23
                   c.      All addressees of the document;
24
25

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                                                                                   Fax (206) 625-0900
 1
                   d.      All recipients of the document, or of any copies of the document to the
 2
                           extent not included among the document’s addressees;
 3
                   e.      The date of the document;
 4
                   f.      The nature or type of the privilege that you are asserting for the document
 5
                           (e.g. “attorney-client privilege”);
 6
                   g.      A description of the subject matter of the document, describing the
 7
                           nature of the document in a manner that, while not revealing information
 8
                           that is itself privileged, provides sufficiently detailed information to
 9
                           enable Plaintiff to assess the applicability of the privilege claimed;
10
                   h.      The request to which the document is responsive;
11
                   i.      The document control numbers of any attachments to the document,
12
                           regardless of whether any privilege is being asserted for such
13
                           attachments; and
14
                   j.      Whether the document has been produced in partially redacted form or
15
                           withheld entirely.
16
            5.     The definition of “document” used herein includes data stored in any electronic
17
     form. You are required to review such data and determine whether it contains material
18
     responsive to these requests. If you have not already done so, you should immediately take all
19
     steps necessary to preserve the following categories of electronic data that contain information
20
     responsive to Plaintiff’s discovery requests:
21
                   a.      All electronic mail, information about electronic mail (including but not
22
                           limited to information on message contents, header information, and logs
23
                           of electronic mail system usage), any attachments, and any other
24
                           electronic communications including any data from instant messaging
25

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 1
                          programs, internet relay chat systems, or any voicemail programs
 2
                          containing information responsive to these requests;
 3
                  b.      All files containing information from electronic calendars or scheduling
 4
                          programs responsive to these requests;
 5
                  c.      All user-created files (including but limited to word processing files,
 6
                          spreadsheets, and slide presentations) that contain information
 7
                          responsive to these requests;
 8
                  d.      All databases (including all records and fields and structural information
 9
                          in such databases) or other data files that contain any information (such
10
                          as sales, pricing, customer, financial, accounting, and billing
11
                          information) responsive to these requests;
12
                  e.      All logs of activity on computer systems that may have been used to
13
                          process or to store electronic data containing information responsive to
14
                          these requests;
15
                  f.      All electronic data files created or used by spreadsheet programs that
16
                          contain information responsive to these requests; and
17
                  g.      All other electronic data containing information that is responsive to
18
                          these requests.
19
            6.    Unless otherwise requested, electronic documents (e.g., email) and data shall be
20
     produced in searchable electronic format as follows:
21
                  a.      Unless otherwise stated, the requested production format for all
22
                          documents is single page TIFF images with multi-page text files, load
23
                          files and native links. The load file should be produced in a format
24
                          capable of being imported into Relativity litigation software. The
25

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 1
                      parties may confer on specific metadata fields and may agree to a
 2
                      different form of production. In all cases, however, you should
 3
                      produce documents in native format, or such other format upon which
 4
                      the parties mutually agree, and, in all cases, preserving original
 5
                      metadata and source information;
 6
                b.    All image files should include an OCR text file;
 7
                c.    All files should be labeled with a Bates or control number;
 8
                d.    Parent/child attachment relationships should be maintained;
 9
                e.    All image files should have a minimum resolution of 300 dpi and meet
10
                      commonly accepted production standards to ensure that the image file is
11
                      reliable and authentic;
12
                f.    The metadata fields should include: DoclD, EndDoc, Document Date,
13
                      Sent Date (for email), File Name, Email Subject, File Type or File
14
                      Extension, Email To, Email From, Email CC, Author, Link to native file,
15
                      Begattach/Endattach or attachrange, File Extension, MD5 Hash, and
16
                      Custodian;
17
                g.    PowerPoint and Excel documents should be produced in native format
18
                      with all metadata preserved, including speaker notes. Spreadsheets
19
                      created with other software should be produced in a comma delimited
20
                      format capable of being opened in Excel;
21
                h.    All hard copy documents for which native electronics files never existed,
22
                      no longer exist, or are not reasonably accessible also should be produced
23
                      in single TIFF format. This includes, but is not limited to, scanned
24
                      images of those documents which contain unique information after they
25

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 1
                           were printed out, such as paper documents containing handwriting,
 2
                           signatures, marginalia, drawings, annotations, highlighting, and
 3
                           redactions. All scanned documents should be kept as they are in regular
 4
                           course of business or in the alternative provide information identifying
 5
                           the custodian for each document; and
 6
                   i.      Audio, video, or other recorded information shall be provided separately
 7
                           on a DVD or other storage device capable of being played on Windows
 8
                           in a .wav or .mpeg format.
 9
            7.     If any document responsive to these requests is no longer in your possession,
10
     custody, or control, state (i) what was done with the document; (ii) the identity and contact
11
     information of the current custodian of the document; (iii) the reason for the transfer or
12
     disposition of the document; and (iv) the identity and contact information of the person who
13
     made the decision to transfer or dispose of the document.
14
            8.     If any document request cannot be answered fully, please provide as full an
15
     answer as possible, with a complete statement of the reason for the inability to fully respond.
16
            9.     The propounding party acknowledges the possibility that you may object to a
17
     particular document request as vague or burdensome. A party cannot always determine in
18
     advance which requests might genuinely be vague or unduly burdensome to the opposing
19
     party. It is anticipated that you will respond to all Requests for Production to the best of your
20
     ability and in good faith, preserving any bona fide objections if necessary. It is further
21
     anticipated, and good practice would certainly dictate, that you will promptly attempt to obtain
22
     clarification regarding requests from the undersigned (who stand ready and willing to provide
23
     any such clarity) if the facts of the particular situation so require. When in doubt, the request
24
     should be interpreted consistent with their common meaning and standard English dictionary.
25

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 1
            10.     These requests are continuing and, to the full extent required under CR 26(e),
 2
     you must seasonably supplement your responses upon the discovery of new or additional
 3
     information.
 4
                                            DEFINITIONS
 5
            As used herein:
 6
            1.      “Document(s)” means the original or any non-identical copies of all written,
 7
     recorded, graphic material and all electronic data of every kind, whether prepared by you or
 8
     by any other person, including drafts, that is in your possession, custody, or control, including
 9
     but not limited to: memoranda, reports, letters, telegrams, and other communications recorded
10
     in any form or medium; notes, minutes, and transcripts of conferences, meetings and telephone
11
     or other communications; contracts and other agreements; checks, check registers, statements,
12
     ledgers, and other records of financial matters or commercial transactions; appointment books,
13
     calendars, notebooks, and diaries, including data in PDAs; maps, diagrams, graphs, and charts;
14
     plans and specifications; publications; photographs; photocopies; microfilm; and other copies
15
     or reproductions; computer printouts, tallies, tabulations, and summaries of sales or bids; and
16
     all file folders, file tabs, folder tabs, mailing envelopes, facsimile transmission cover sheets,
17
     and any other proof or indicia of mailing (if applicable) associated with each original. The
18
     term “document” includes spreadsheets, as well as underlying cell formulae and other codes.
19
     The term “document” also includes electronic mail messages and other documents and data
20
     stored in, or accessible through, computer or other information retrieval systems, such as
21
     personal computers, workstations, minicomputers, personal data assistants, archival voice
22
     storage systems, group and collaborative tools, electronic messaging devices, portable or
23
     removable storage media, mainframes, servers, backup disks and tapes, archive disks and
24
     tapes, and other forms of online or offline storage, whether on or off of your premises. The
25

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 1
     term “document” includes all data (including metadata, embedded, hidden and other
 2
     bibliographic or historical data describing or relating to documents created, revised, or
 3
     distributed on computer systems) stored in electronic form or accessible through computer or
 4
     other information retrieval systems, together with instructions and all other materials necessary
 5
     to use or interpret this data. Unless specifically requested, the term “document” excludes non-
 6
     electronic forms of invoices, bills of lading, purchase orders, customs declarations, and other
 7
     similar documents of a purely transactional nature. The reference to specific types, categories,
 8
     or formats of documents in any specific Request for Production in no way limits or diminishes
 9
     the scope of the term “document” for purposes of the request.
10
            2.     “Communication(s)” means any oral or written expression, disclosure, transfer,
11
     transmission, or exchange of information or any nonverbal conduct of a person intended by
12
     that person to be a substitute for an oral or written expression, disclosure, transfer,
13
     transmission, or exchange of information, in whatever form, by whatever means, including,
14
     but not limited to, oral, written, face-to-face, email, telephone, facsimile, electronic, text
15
     messages, voicemail, postal mail, personal delivery, or otherwise.
16
            3.     “Identify” means:
17
                   a.      In the case of a person other than a natural person, its legally registered
18
                           name, the address of its principal place of business, its telephone number,
19
                           and the name of its chief executive officer;
20
                   b.      In the case of a natural person, his or her full name (including middle
21
                           name), home address and telephone number, business address and phone
22
                           number, last known cellular or mobile telephone number(s), their last
23
                           known employer, the positions held by each person during the
24
                           discoverable period, and the dates of tenure in each such position; and
25

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 1
                     c.     In the case of a communication, its date, its type (e.g., telephone
 2
                            conversation, letter, electronic mail, or meeting), the place where it
 3
                            occurred, the identity of the persons who made it, the identity of the
 4
                            persons who received it or who were present when it was made, and the
 5
                            subject matter discussed.
 6
                4.   “Relating to” or “relate to” or “regarding” means directly or indirectly refer or
 7
     pertain to, discuss, describe, reflect, contain, examine, analyze, study, report on, comment on,
 8
     evidence, constitute, show, consider, recommend, concern, record, or set forth, in whole or in
 9
     part.
10
               5.    “You” or “Your” or “First Fed” mean Defendant First Fed Bank and/or its
11
     partners, owners, members, agents, affiliates, subsidiaries, parents, servants, employees,
12
     officers, successors, licensees, partners, contractors (including, but not limited to, Turning
13
     Pointe), and assigns, and all persons acting in concert or participation with each or any of them
14
     or on any of their behalf.
15
               6.    “Wear” means Defendant Ryan Wear and/or any person or entity acting on his
16
     behalf.
17
               7.    “Houk” or “Larry Houk” means Defendant Larry Houk and/or Northwest
18
     Financial Services, LLC, and/or any person or entity acting on their behalf.
19
               8.    “Nooney” or “Kevin Nooney” means Defendant Kevin Nooney and/or any
20
     person or entity acting on his behalf.
21
               9.    “Unibank” means UniBank and/or its partners, owners, members, agents,
22
     affiliates, subsidiaries, parents, servants, employees, officers, successors, licensees, partners,
23
     contractors, and assigns, and all persons acting in concert or participation with each or any of
24
     them or on their behalf.
25

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 1
            10.     “Turning Point” means TurningPointe LLC d/b/a Turning Point Strategic
 2
     Advisors and/or any of its partners, owners, members, agents, affiliates, subsidiaries, parents,
 3
     servants, employees, officers, successors, licensees, partners, contractors, and assigns, and all
 4
     persons acting in concern or participation with each or any of them or on their behalf
 5
            11.     “WST” means Defendant Creative Technologies and/or any subsidiary or
 6
     affiliate thereof including, without limitation, the entity Defendants named in this matter that
 7
     Plaintiffs allege are owned or controlled by Defendant Wear, including, without limitation,
 8
     Ideal Property Investments, LLC, and its subsidiaries and affiliates, and/or any person or entity
 9
     acting on any of their behalf.
10
                                  REQUESTS FOR PRODUCTION
11
     REQUEST FOR PRODUCTION 1: Produce all documents and communications sent to or
12
     received from Larry Houk referencing and/or relating to any of the following:
13
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
14
            investigation, and/or evaluation of such inquiries and/or applications;
15
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
16
            relating to any such loans;
17
        c) Loans to Wear and/or underwriting or pre- or post-closing due diligence activities
18
            relating to any such loans;
19
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
20
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
21
            whom First Fed issued loans;
22
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
23
            closing due diligence activities relating to any such loans;
24
25

                                                                                  CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                  1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 13                                          Seattle, Washington 98104-1001
                                                                                    Tel (206) 625-8600
                                                                                    Fax (206) 625-0900
 1
        f) Information regarding any WST-related collateral, including, without limitation, real
 2
            estate, water vending machines, leases, and/or equipment lists;
 3
        g) Referrals;
 4
        h) Commissions or compensation paid to Houk;
 5
        i) Any and all agreements or loan programs with WST and/or Wear, including without
 6
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
 7
        j) Investments in WST;
 8
        k) Potential investors in WST;
 9
        l) The qualifications and/or financial means of investors in WST
10
        m) WST’s business and/or financial information;
11
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
12
        o) WST’s solvency and/or ability to satisfy obligations.
13
     RESPONSE:
14

15
     REQUEST FOR PRODUCTION 2: Produce all documents and communications sent to or
16
     received from Kevin Nooney referencing and/or related to any of the following:
17
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
18
            investigation, and/or evaluation of such inquiries and/or applications;
19
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
20
            relating to any such loans;
21
        c) Loans to Wear and/or underwriting or pre- or post-closing due diligence activities
22
            relating to any such loans;
23

24
25

                                                                                   CORR CRONIN LLP
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      DEFENDANT FIRST FED BANK – 14                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 2
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
 3
            whom First Fed issued loans;
 4
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
 5
            closing due diligence activities relating to any such loans;
 6
        f) Information regarding any WST-related collateral, including, without limitation, real
 7
            estate, water vending machines, leases, and/or equipment lists;
 8
        g) Referrals;
 9
        h) Commissions or compensation paid to Houk;
10
        i) Any and all agreements or loan programs with WST and/or Wear, including without
11
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
12
        j) Investments in WST;
13
        k) Potential investors in WST;
14
        l) The qualifications and/or financial means of investors in WST
15
        m) WST’s business and/or financial information;
16
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
17
        o) WST’s solvency and/or ability to satisfy obligations.
18
     RESPONSE:
19

20
     REQUEST FOR PRODUCTION 3: Produce all documents and communications sent to or
21
     received from Wear referencing and/or related to any of the following:
22
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
23
            investigation, and/or evaluation of such inquiries and/or applications;
24
25

                                                                                   CORR CRONIN LLP
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      DEFENDANT FIRST FED BANK – 15                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
       b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
 2
          relating to any such loans;
 3
       c) Loans to Defendant Wear and/or underwriting or pre- or post-closing due diligence
 4
          activities relating to any such loans;
 5
       d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
 6
          or potential investor in WST, including but not limited to the Plaintiffs in this action to
 7
          whom First Fed issued loans;
 8
       e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
 9
          closing due diligence activities relating to any such loans;
10
       f) Information regarding any WST-related collateral, including, without limitation, real
11
          estate, water vending machines, leases, and/or equipment lists;
12
       g) Referrals;
13
       h) Commissions or compensation paid to Houk;
14
       i) Any and all agreements or loan programs with WST and/or Wear, including without
15
          limitation credit referral and/or enhancement agreements, and all drafts thereof;
16
       j) Investments in WST;
17
       k) Potential investors in WST;
18
       l) The qualifications and/or financial means of investors in WST
19
       m) WST’s business and/or financial information;
20
       n) WST’s business practices, credit worthiness, and/or financial condition; and/or
21
       o) WST’s solvency and/or ability to satisfy obligations.
22
     RESPONSE:
23

24
25

                                                                                 CORR CRONIN LLP
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     DEFENDANT FIRST FED BANK – 16                                          Seattle, Washington 98104-1001
                                                                                   Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION 4: Produce all documents and communications sent to or
 2
     received from Turning Point referencing and/or related to any of the following:
 3
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
 4
            investigation, and/or evaluation of such inquiries and/or applications;
 5
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
 6
            relating to any such loans;
 7
        c) Loans to Wear and/or underwriting or pre- or post-closing due diligence activities
 8
            relating to any such loans;
 9
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
10
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
11
            whom First Fed issued loans;
12
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
13
            closing due diligence activities relating to any such loans;
14
        f) Information regarding any WST-related collateral, including, without limitation, real
15
            estate, water vending machines, leases, and/or equipment lists;
16
        g) Referrals;
17
        h) Commissions or compensation paid to Defendant Houk;
18
        i) Any and all agreements or loan programs with WST and/or Wear, including without
19
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
20
        j) Investments in WST;
21
        k) Potential investors in WST;
22
        l) The qualifications and/or financial means of investors in WST
23
        m) WST’s business and/or financial information;
24
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
25

                                                                                   CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                   1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 17                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
        o) WST’s solvency and/or ability to satisfy obligations.
 2
     RESPONSE:
 3

 4
     REQUEST FOR PRODUCTION 5: Produce all documents and communications sent to or
 5
     received from Unibank referencing and/or relating to any of the following:
 6
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
 7
            investigation, and/or evaluation of such inquiries and/or applications;
 8
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
 9
            relating to any such loans;
10
        c) Loans to Wear and/or underwriting or pre- or post-closing due diligence activities
11
            relating to any such loans;
12
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
13
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
14
            whom First Fed issued loans;
15
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
16
            closing due diligence activities relating to any such loans;
17
        f) Information regarding any WST-related collateral, including, without limitation, real
18
            estate, water vending machines, leases, and/or equipment lists;
19
        g) Referrals;
20
        h) Commissions or compensation paid to Defendant Houk;
21
        i) Any and all agreements or loan programs with WST and/or Wear, including without
22
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
23
        j) Investments in WST;
24
        k) Potential investors in WST;
25

                                                                                   CORR CRONIN LLP
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      DEFENDANT FIRST FED BANK – 18                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
        l) The qualifications and/or financial means of investors in WST
 2
        m) WST’s business and/or financial information;
 3
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
 4
        o) WST’s solvency and/or ability to satisfy obligations.
 5
     RESPONSE:
 6

 7
     REQUEST FOR PRODUCTION 6: To the extent not produced in response to previous
 8
     requests, produce all documents and communications sent to or received WST referencing
 9
     and/or related to any of the following:
10
        a) Loan inquiries or applications submitted by WST and/or Wear and your review,
11
            investigation, and/or evaluation of such inquiries and/or applications;
12
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
13
            relating to any such loans;
14
        c) Loans to Defendant Wear and/or underwriting or pre- or post-closing due diligence
15
            activities relating to any such loans;
16
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
17
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
18
            whom First Fed issued loans;
19
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
20
            closing due diligence activities relating to any such loans;
21
        f) Information regarding any WST-related collateral, including, without limitation, real
22
            estate, water vending machines, leases, and/or equipment lists;
23
        g) Referrals;
24
        h) Commissions or compensation paid to Houk;
25

                                                                                   CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                   1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 19                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
        i) Any and all agreements or loan programs with WST and/or Wear, including without
 2
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
 3
        j) Investments in WST;
 4
        k) Potential investors in WST;
 5
        l) The qualifications and/or financial means of investors in WST
 6
        m) WST’s business and/or financial information;
 7
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
 8
        o) WST’s solvency and/or ability to satisfy obligations.
 9
     RESPONSE:
10

11
     REQUEST FOR PRODUCTION 7: To the extent not produced in response to previous
12
     requests, produce all documents and communications with any party or third party (other than
13
     your legal counsel) referencing and/or related to any of the following:
14
        a) Loan inquiries or applications submitted by WST and/or Defendant Wear and your
15
            review, investigation, and/or evaluation of such inquiries and/or applications;
16
        b) Loans to WST and/or any underwriting or pre- or post-closing due diligence activities
17
            relating to any such loans;
18
        c) Loans to Defendant Wear and/or underwriting or pre- or post-closing due diligence
19
            activities relating to any such loans;
20
        d) Loan inquiries, applications, and/or information submitted by or on behalf of any actual
21
            or potential investor in WST, including but not limited to the Plaintiffs in this action to
22
            whom First Fed issued loans;
23
        e) Loans to Plaintiffs or any other investor in WST and/or any underwriting or pre- or post-
24
            closing due diligence activities relating to any such loans;
25

                                                                                    CORR CRONIN LLP
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      DEFENDANT FIRST FED BANK – 20                                            Seattle, Washington 98104-1001
                                                                                      Tel (206) 625-8600
                                                                                      Fax (206) 625-0900
 1
        f) Information regarding any WST-related collateral, including, without limitation, real
 2
            estate, water vending machines, leases, and/or equipment lists;
 3
        g) Referrals;
 4
        h) Commissions or compensation paid to Defendant Houk;
 5
        i) Any and all agreements or loan programs with WST and/or Wear, including without
 6
            limitation credit referral and/or enhancement agreements, and all drafts thereof;
 7
        j) Investments in WST;
 8
        k) Potential investors in WST;
 9
        l) The qualifications and/or financial means of investors in WST
10
        m) WST’s business and/or financial information;
11
        n) WST’s business practices, credit worthiness, and/or financial condition; and/or
12
        o) WST’s solvency and/or ability to satisfy obligations.
13
     RESPONSE:
14

15
     REQUEST FOR PRODUCTION 8: Produce all documents and communications referencing
16
     and/or related to whether any loans to WST, loans to fund any investor’s investment in WST,
17
     and/or loan programs or portfolio related to WST or Wear comply with and/or violate U.S.
18
     Small Business Administration (“SBA”) rules, policies, guidelines, regulations and/or
19
     standards.
20
     RESPONSE:
21

22
     REQUEST FOR PRODUCTION 9: Produce all documents and communications referencing
23
     and/or related to whether any loans to WST, loans to fund any investor’s investment in WST,
24
25

                                                                                   CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                   1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 21                                           Seattle, Washington 98104-1001
                                                                                     Tel (206) 625-8600
                                                                                     Fax (206) 625-0900
 1
     and/or loan programs or portfolio related to WST or Wear comply with and/or violate Federal
 2
     Deposit Insurance (“FDIC”) rules, policies, guidelines, regulations and/or standards.
 3
     RESPONSE:
 4

 5
     REQUEST FOR PRODUCTION 10:                      Produce all documents and communications
 6
     referencing and/or related to whether any loans to WST, loans to fund any investor’s investment
 7
     in WST, and/or loan programs or portfolio related to WST or Wear comply with and/or violate
 8
     Washington State Department of Financial Institutions (“DFI”) rules, policies, guidelines,
 9
     regulations and/or standards.
10
     RESPONSE:
11

12
     REQUEST FOR PRODUCTION 11:                      Produce all documents and communications
13
     referencing and/or related to whether any loans to WST, loans to fund any investor’s investment
14
     in WST, and/or loan programs or portfolio related to WST or Wear comply with and/or violate
15
     your internal rules, policies, guidelines, regulations and/or standards.
16
     RESPONSE:
17

18
     REQUEST FOR PRODUCTION 12: Produce all documents and communications sent to or
19
     received from the SBA, FDIC, or DFI, referencing and/or related to WST and/or loans to WST
20
     investors.
21
     RESPONSE:
22

23
     REQUEST FOR PRODUCTION 13: Produce all documents and communications sent to or
24
     received from FDIC referencing and/or related to WST and or loans to WST investors.
25

                                                                                     CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                     1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 22                                             Seattle, Washington 98104-1001
                                                                                       Tel (206) 625-8600
                                                                                       Fax (206) 625-0900
 1
     RESPONSE:
 2

 3
     REQUEST FOR PRODUCTION 14: Produce all documents and communications sent to or
 4
     received from DFI referencing and/or related to WST and or loans to WST investors.
 5
     RESPONSE:
 6

 7
     REQUEST FOR PRODUCTION 15: To the extent not produced in response to the previous
 8
     requests stated herein, produce all documents and communications referencing and/or related
 9
     to any supervision, evaluation, and/or investigation conducted by DFI, SBA, FDIC, and/or any
10
     other state or federal agency or regulatory entity referencing and/or related to WST and or loans
11
     to WST investors.
12
     RESPONSE:
13

14
     REQUEST FOR PRODUCTION 16:                   Produce all commercial lending rules, policies,
15
     guidance, and/or procedures regarding loan eligibility, loan products, loan staff and loan
16
     committees, loan underwriting and/or due diligence, transactions with brokers, loan approval,
17
     loan closing, loan monitoring, portfolio management, delinquency, loan foreclosure and/or loan
18
     write-offs.
19
     RESPONSE:
20

21
     REQUEST FOR PRODUCTION 17: Produce all documents and communications related to
22
     secured and unsecured lending authorities of each employee who worked on or assisted with
23
     loans related in any way to WST, including, without limitation, Kasi O’Leary and Kevin
24
     McDaniel.
25

                                                                                  CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                  1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 23                                          Seattle, Washington 98104-1001
                                                                                    Tel (206) 625-8600
                                                                                    Fax (206) 625-0900
 1
     RESPONSE:
 2

 3
     REQUEST FOR PRODUCTION 18: Produce all personnel files for each employee who
 4
     worked on or assisted with loans related to WST, including, without limitation, Kasi O’Leary
 5
     and Kevin McDaniel.
 6
     RESPONSE:
 7

 8
     REQUEST FOR PRODUCTION 19: Produce all documents and communications reflecting
 9
     or related to any meeting minutes, resolutions, directives, or any other corporate action or
10
     oversight by your directors, governors, board of directors, board of governors, and/or any
11
     subcommittee or work group thereof, from January 1, 2019 to present.
12
     RESPONSE:
13

14
     REQUEST FOR PRODUCTION 20: Produce all documents and communications reflecting
15
     or related to any meeting minutes, resolutions, directives, or any other corporate action or
16
     oversight by your loan committee and/or members of the loan committee, and/or any
17
     subcommittee or work group thereof, from January 1, 2019 to present.
18
     RESPONSE:
19

20
     REQUEST FOR PRODUCTION 21: Produce all documents and communications reflecting
21
     or related to any meeting minutes, resolutions, directives, or any other corporate action or
22
     oversight by your audit committee and/or members of the audit committee, and/or any
23
     subcommittee or work group thereof, from January 1, 2019 to present.
24
     RESPONSE:
25

                                                                                 CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                 1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 24                                         Seattle, Washington 98104-1001
                                                                                   Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION 22: Produce all documents and communications reflecting
 2
     and/or related to any reports or findings of internal or external audits or investigations from
 3
     January 1, 2019 to present.
 4
     RESPONSE:
 5

 6
     REQUEST FOR PRODUCTION 23: To the extent not produced in response to the previous
 7
     requests stated herein, complete credit and loan files regarding any and all actual or potential
 8
     investors in WST, including Plaintiffs to whom you issued loans.
 9
     RESPONSE:
10

11
     REQUEST FOR PRODUCTION 24: Produce a complete record of payments to Larry Houk
12
     and/or Northwest Finding Services LLC from January 1, 2015 to present.
13
     RESPONSE:
14

15
     REQUEST FOR PRODUCTION 25: To the extent not produced in response to the previous
16
     requests stated herein, produce all documents and communications reflecting or related to any
17
     contracts and/or agreements with any of the Defendants named herein, including any drafts
18
     related thereto.
19
     RESPONSE:
20

21
     REQUEST FOR PRODUCTION 26: Produce all account statements, signature cards, wire
22
     transfer receipts, deposited items, and/or cancelled checks, regarding Wear or WST.
23
     RESPONSE:
24
25

                                                                                 CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                 1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 25                                         Seattle, Washington 98104-1001
                                                                                   Tel (206) 625-8600
                                                                                   Fax (206) 625-0900
 1   REQUEST FOR PRODUCTION 27: To the extent not produced in response to the previous
 2   requests stated herein, produce all documents and communications reflecting or related to any
 3
     suspicious activity reports, AML compliance, FinCen compliance, fraud prevention and/or
 4
     fraud alerts, and/or internal compliance with respect to Wear or WST.
 5

 6   RESPONSE:
 7

 8   REQUEST FOR PRODUCTION 28: To the extent not produced in response to the previous
 9   requests stated herein, produce all documents and communications reflecting or related to any
10   contracts and/or agreements with any of the Plaintiffs named herein to whom you issued a loan,
11   including any drafts related thereto.
12   RESPONSE:
13

14   REQUEST FOR PRODUCTION 29: To the extent not produced in response to the previous
15   requests stated herein, produce all communications referencing or related to any of the
16   Defendants named herein.
17   RESPONSE:
18

19   REQUEST FOR PRODUCTION 30:                     Produce all documents and communications
20   referencing and/or related to WST’s Main Street Loan, including, but not limited to, any
21   applications for the Main Street Loan, the approval, issuance, and/or administration of the Main
22   Street Loan, and/or the default and/or collateralization of the Main Street Loan.
23   RESPONSE:
24
25

                                                                                  CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                  1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 26                                          Seattle, Washington 98104-1001
                                                                                    Tel (206) 625-8600
                                                                                    Fax (206) 625-0900
 1
     REQUEST FOR PRODUCTION 31:                      Produce all documents and communications
 2
     referencing and/or related to whether any loans to WST, loans to fund any investor’s investment
 3
     in WST, and/or loan programs or portfolio related to WST or Wear comply with and/or violate
 4
     industry rules, policies, guidelines, regulations and/or standards.
 5
     RESPONSE:
 6

 7

 8

 9

10
            DATED this 8th day of July, 2024.
11
                                                         CORR CRONIN LLP
12

13
                                                         s/ John T. Bender
14                                                       John T. Bender, WSBA No. 49658
                                                         Kristen Barnhart, WSBA No. 51135
15                                                       CORR CRONIN LLP
                                                         1015 Second Avenue, Floor 10
16
                                                         Seattle, WA 98104-1001
17                                                       Telephone: 206-625-8600
                                                         Email: jbender@corrcronin.com,
18                                                       Counsel for Plaintiffs

19

20

21

22

23

24
25

                                                                                CORR CRONIN LLP
      PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                1015 Second Avenue, Floor 10
      DEFENDANT FIRST FED BANK – 27                                        Seattle, Washington 98104-1001
                                                                                  Tel (206) 625-8600
                                                                                  Fax (206) 625-0900
 1                                CERTIFICATE OF SERVICE
 2         The undersigned certifies that on the below date, I caused a true and correct copy of
 3
     the foregoing document to be served on the following parties via electronic mail:
 4
            Patrick L. Vail, WSBA No. 34513
 5          PATRICK L. VAIL, PLLC
            1000 2 Avenue, Suite 1770
 6          Seattle, WA 98104
 7          (206) 624-5824 Phone
            (206) 694-4601 Fax
 8          pvail@pvaillaw.com
            ljduenas@pvaillaw.com
 9          Attorneys for Defendants
10          Joel Ard, WSBA No. 40104
11          ARD LAW GROUP PLLC
            PO Box 11633
12          Bainbridge Island, WA 98110-5633
            Phone: (206) 701-9243
13          joel@ard.law
            Attorney for the Nooney Parties
14

15          Nathan Riordan, WSBA No. 33926
            600 Stewart St Ste 1300
16          Seattle, WA 98101-1255
            Phone: (206) 903-0401
17          nate@wrlawgroup.com
            Attorney for Defendants
18

19          Gregory R. Fox, WSBA No. 30559
            Andrew G. Yates, WSBA No. 34239
20          Devon J. McCurdy, WSBA No. 52663
            Lane Powell PC
21          1420 Fifth Avenue, Suite 4200
            Seattle, Washington 98101
22          Telephone: 206.223.7000
23          foxg@lanepowell.com yatesa@lanepowell.com
            norbya@lanepowell.com
24          docketing@lanepowell.com
            Counsel for Defendants First Fed Bank, First
25

                                                                               CORR CRONIN LLP
     PLAINTIFFS’ REQUESTS FOR PRODUCTION TO                                1015 Second Avenue, Floor 10
     DEFENDANT FIRST FED BANK – 28                                        Seattle, Washington 98104-1001
                                                                                 Tel (206) 625-8600
                                                                                 Fax (206) 625-0900
 1         Northwest Bancorp, Norman Tonina, Craig Curtis, Jennifer
           Zaccardo, Cindy Finnie, Dana Behar, Matthew Deines, Sherilyn
 2         Anderson, Gabriel Galanda, and Lynn Terwoerds
 3

 4         Aimee S. Willig, WSBA #22859
           Armand J. Kornfeld, WSBA #17214
 5         BUSH KORNFELD LLP LAW OFFICES
           601 Union St., Suite 5000
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